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                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF TEXAS
                           GALVESTON DIVISION

RODRIGO LEDEZMA PERALES,                  §
INDIVIDUALLY AND AS                       §
REPRESENTATIVE OF THE ESTATE              §
OF EFRAIN LEDEZMA PERALES,                §
         Plaintiffs                       §
                                          §
VS                                        §                     C.A. NO. 3:22-CV-00061
                                          §
SERGEANT JONATHAN WUNEBURGER, §
#7802 LIEUTENANT SCOTT FINLAW,            §
#7596 and CAPTAIN KEVIN WALKER,           §
#6700 in their individual capacities, and §
GALVESTON COUNTY,                         §
             Defendants                   §

    DEFENDANT JONATHAN WUNEBURGER’S ORIGINAL ANSWER
           TO PLAINTIFFS’ FIRST AMENDED COMPLAINT
===============================================================

MAY IT PLEASE THE COURT:
       NOW      COMES      DEFENDANT         JONATHAN         WUNEBURGER         IN   HIS
INDIVIDUAL CAPACITY (hereafter “DEFENDANT”) and files this Original Answer to
Plaintiffs’ First Amended Complaint (hereafter “Complaint).

                            ANSWER-SPECIFIC DENIALS
1.     With respect to Section I of the Complaint, titled “Introduction”, ¶¶1,
DEFENDANT denies Plaintiffs are entitled to recover any relief or damages from him and
denies violations of the Constitution as alleged.

2.     With respect to Section II of the Complaint, titled “Jurisdiction and Venue”, ¶¶2-3,
DEFENDANT admits that federal question jurisdiction exists, and that venue is proper in
the Galveston Division of the U.S. District Court for the Southern District of Texas. As to
all other pled allegations in this Section, DEFENDANT denies that Plaintiffs are entitled
to any relief or damages as requested.
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3.     With respect to Section III of the Complaint, titled “Parties”, ¶¶4-6, 8 and 10,
DEFENDANT does not have sufficient knowledge or information to form a belief about
the truth of the factual allegations, therefore denied. With respect to ¶¶7, 9, 11-14,
DEFENDANT admits that he lives in Texas; that he was employed with the Galveston
County Sheriff’s Office at the time of the incident alleged; that he was acting in the course
and scope of his employment; and that he was acting under color of state law. As to all
other factual and legal allegations and claims in these paragraphs, DEFENDANT denies.

4.     With respect to Section IV of the Complaint, titled “Factual Background”, ¶¶15-22,
DEFENDANT does not have sufficient knowledge or information to form a belief about
the truth of the factual allegations, therefore denied.

5.     With respect to Section IV of the Complaint, titled “Factual Background”, ¶¶23-25,
DEFENDANT denies the factual allegations.

6.     With respect to Section IV of the Complaint, titled “Factual Background”, ¶26,
DEFENDANT does not have sufficient knowledge or information to form a belief about
the truth of the factual allegations, therefore denied.

7.     With respect to Section IV of the Complaint, titled “Factual Background”, ¶¶27-36,
DEFENDANT denies the material factual and legal allegations contained therein.

8.     With respect to Section IV of the Complaint, titled “Factual Background”, ¶37,
DEFENDANT does not have sufficient knowledge or information to form a belief about
the truth of the factual allegations, therefore denied.

9.     With respect to Section IV of the Complaint, titled “Factual Background”, ¶38
DEFENDANT admits the material factual allegation.

10.    With respect to Section IV of the Complaint, titled “Factual Background”, ¶39,
DEFENDANT denies the material factual and legal allegations and characterizations
contained therein.

11.    With respect to Section IV of the Complaint, titled “Factual Background”, ¶40,
DEFENDANT admits the material factual allegation.
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12.    With respect to Section IV of the Complaint, titled “Factual Background”, ¶41-42,
DEFENDANT denies that he committed homicide to the extent this is what the medical
examiner determined the cause of death to be. As to all other factual allegations and
characterizations in these paragraphs, DEFENDANT does not have sufficient knowledge
or information to form a belief about the truth of the factual allegations, therefore denied.

13.    With respect to Section IV of the Complaint, titled “Factual Background”, ¶43,
DEFENDANT admits the existence of the criminal case and indictment, but denies the
allegations in the criminal case and indictment.

14.    With respect to Section V of the Complaint, titled “CONCEALMENT OF
EVENTS”, ¶¶44-51, DEFENDANT denies all factual and legal allegations and
characterizations referring to or describing his alleged conduct. As to all factual allegations
in these paragraphs regarding available evidence or the conduct of the Sheriff’s Office or
DA’s office in regard to the Plaintiffs, DEFENDANT does not have sufficient knowledge
or information to form a belief about the truth of the factual allegations, therefore denied.

15.    With respect to Section VI of the Complaint, titled “DEFENDANT
WUNEBURGER’S HISTORY OF EXCESSIVE FORCE”, ¶¶52-132 DEFENDANT
denies the material factual allegations and legal characterizations contained therein as to
him and his conduct. As to ¶¶133-135, DEFENDANT denies all factual and legal
assertions and characterizations regarding his alleged conduct and that discipline or
additional training was needed or necessary.

16.    With respect to Section VII of the Complaint, titled “ADDITIONAL MONELL
ALLEGATIONS, ¶¶136-143, DEFENDANT denies all factual and legal allegations and
characterizations contained therein regarding or describing his alleged conduct.

17.    With respect to Section VIII of the Complaint, titled “CAUSES OF ACTION -
COUNT ONE: FOURTEENTH AMENDMENT; EXCESSIVE FORCE AGAINST
PRETRIAL DETAINEEE AGAINST DEFENDANT WUNEBURGER (42 U.S.C §
1983)”, ¶¶144-150 DEFENDANT denies the factual and legal allegations and

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characterizations contained therein and denies that Plaintiffs are entitled to any of the relief
pled or claimed. As to ¶144, DEFENDANT refers to all previous admissions and denials
in this Answer.

18.    With respect to Section IX of the Complaint, titled “COUNT TWO:
SUPERVISORY LIABILITY AGAINST DEFENDANTS FINLAW AND WALKER (42
U.S.C § 1983)”, ¶¶151-162, DEFENDANT denies all factual and legal allegations and
characterizations contained therein regarding or describing his alleged conduct and denies
that Plaintiffs are entitled to any of the relief pled or claimed. As to ¶151, DEFENDANT
refers to all previous admissions and denials in this Answer.

19.    With respect to Section X of the Complaint, titled “COUNT THREE: MONELL
AGAINST DEFENDANT GALVESTON COUNTY (42 U.S.C § 1983)”, ¶¶163-170,
DEFENDANT denies all factual and legal allegations and characterizations contained
therein regarding his alleged conduct and denies that Plaintiffs are entitled to the relief
pled. As to ¶163, DEFENDANT refers to all previous admissions and denials in this
Answer.

20.    With respect to Section XI of the Complaint, titled “COUNT FOUR: PUNITIVE
DAMAGES AGAINST DEFENDANT WUNEBURGER(42 U.S.C § 1983)”, ¶¶171-173,
DEFENDANT denies the factual and legal allegations and characterizations contained
therein regarding his alleged conduct and denies that Plaintiffs are entitled to any of the
relief requested. As to ¶171, DEFENDANT refers to all previous admissions and denials
in this Answer.

21.    With respect to Section XII of the Complaint, titled “DAMAGES”, ¶¶174-179,
DEFENDANT denies the factual and legal allegations and characterizations contained
therein regarding his alleged conduct and denies that Plaintiffs are entitled to any of the
relief requested.

22.    With respect to Section XIII of the Complaint, titled “JURY DEMAND”, ¶180, no
Rule 8 response is necessary with regard to the jury trial request. As to any material factual

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and legal allegations contained therein, DEFENDANT denies that Plaintiffs are entitled to
any damages or relief as pled.

                                   GENERAL DENIAL

23.    DEFENDANT hereby generally denies all material allegations contained in
Plaintiffs’ Complaint not specifically admitted to herein. Any material factual allegations
not specifically admitted in the foregoing paragraphs are hereby denied and DEFENDANT
demands proper proof as required by law and the rules of court.

                               AFFIRMATIVE DEFENSES

Qualified Immunity
24.    DEFENDANT hereby asserts the affirmative defense of qualified immunity from
all claims asserted by Plaintiffs, including any claims for punitive or exemplary damages.
This defense of immunity encompasses the DEFENDANT’S immunity from suit, as well
as immunity from liability. Further, with regard to those causes of action over which
DEFENDANT has immunity from suit, the Court is without subject matter jurisdiction.
Other Actors
25.    In the alternative, and without waiving the foregoing, DEFENDANT pleads by way
of defense or affirmative defense that the illegality of the acts and omissions of Efrain
Ledezma Perales or other third parties were the actual, producing, and proximate cause of
any injuries, damages, and losses.
                               CONCLUSION & PRAYER
       THEREFORE, based on any one or more of the foregoing reasons, DEFENDANT
JONATHAN WUNEBURGER hereby requests and prays that at the appropriate juncture
in this litigation, the Court deny all relief requested by Plaintiffs in their Complaint, or any
future live pleading filed in this cause.

       DEFENDANT also requests and prays for any further and additional relief to which
he may be entitled, at law or in equity.
       SIGNED on the 2nd day of DECEMBER 2022.

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                                          Respectfully submitted,

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                                          COUNSEL FOR DEFENDANT
                                          JONATHAN WUNEBURGER

                               CERTIFICATE OF SERVICE
       I certify that a true and correct copy of this document has been served on the persons
or parties identified below in accordance with one or more of the recognized methods of
service by the Federal Rules of Civil Procedure on the 2nd day of DECEMBER 2022.

       Kathleen T. Zellner                    Via E-Filing Method
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